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                                   United States District Court,
                                       District of Columbia


David Alan Carmichael, et al.                         )
                                                      )
       Plaintiffs                                     )
                                                      )   Case No: 19-CV-2316-RC
                 v.                                   )
                                                      )   Re: ECF 95, 92
Antony John Blinken, in his Offiicial                 )
       capacity as Secretary of State, et al.,        )
                                                      )
       Defendants                                     )


  PLAINTIFFS’ MOTION FOR ADDITIONAL TIME FOR REPLY TO DEFENDANT
    OPPOSITION TO PLAINTIFFS’ MOTION TO JOIN MICHELLE BOULTON

      1.      In accordance with paragraph 23., of the Join Status Report (ECF 87), the plaintiffs

move for leave to move the deadline one full week for our reply to the Defendants’ opposition to

join Michelle Bouton (ECF 95) which opposed our motion (ECF 92). The Defendants response

in opposition was filed Friday, June 4, 2021. The ordinary reply time would be June 21, 2021.

An additional week is requested as was agreed upon by the Parties of Carmichael, Lewis, Pakosz

and Blinken as we discussed the status report (ECF 87). We intend therefore to reply to the

Defendants’ (ECF 95) no later than June 28, 2021. The Defendants’ Attorney was contacted

again and agreed that there was no objection. I contacted Michelle Boulton and she has no

objection.

                                                          s/ David Alan Carmichael
                                                          David Alan Carmichael, Plaintiff
                                                          1748 Old Buckroe Road
                                                          Hampton, Virginia 23664


     s/ Lawrence Donald Lewis                             s/ William Mitchell Pakosz
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